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                 EXHIBIT G
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                                             425 MARKET STREET           MO RRI SO N & F O E RST E R L LP

                                             SAN FRANCISCO               N E W YO RK , SAN F RAN C I SCO ,
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February 29, 2012                                                        Writer’s Direct Contact
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By Email (dianehutnyan@quinnemanuel.com)

Diane Hutnyan
Quinn Emanuel
865 South Figueroa St., 10th Floor
Los Angeles, CA 90017-2543

Re:    Apple v. Samsung, Case No. 11-cv-1846 LHK (N.D. Cal.)

Dear Diane:

I write regarding the production of documents from related proceedings and to respond to
your February 13, 19, and 23 letters.

Apple Has Complied with the Court’s Order Regarding Production of Transcripts

Samsung’s motion on this issue and the Court’s Order extended not to production of all
transcripts or other documents from any case with a technological nexus to this lawsuit, but
rather to production of specific transcripts with a technological nexus to this lawsuit.
Samsung moved for “all transcripts of prior Apple witness testimony in which the witness
testified in his or her capacity as an Apple employee.” (Samsung’s Motion to Compel [Dkt.
No. 488] at 21-22.) The Court limited this to testimony with a “technological nexus” and
accepted Apple’s definition:

               “With respect to design patent inventors, this would include
               prior cases involving the asserted design patents or other
               design patents covering the same designs or design elements.
               With respect to utility patent inventors, this would include the
               asserted utility patents, or other utility patents covering touch-
               based interface functions, display elements, touch-screen
               hardware, or touch-screen logic.”

(Order Granting in Part Defendant’s Motion to Compel [Dkt. 536] at 5 n.6.) This definition
requires an analysis specific to each witness or transcript. Consistent with the above Order,
Apple searched for and produced transcripts of Apple witnesses from cases where such
testimony bears a technological nexus to the present case.


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The Court did not require Apple to create an exhaustive list of all cases that have a
“technological nexus” to this one. Your assertion that Samsung will have grounds to seek
sanctions for misconduct if it discovers any proceedings that Apple has not identified is
ludicrous. The Court’s Order explicitly noted that Samsung may identify proceedings
beyond Apple’s production, and instructed the parties accordingly:

               To the extent that Samsung identifies as relevant any cases that
               fall outside of Apple’s production as limited by the
               “technological nexus” standard, the court will entertain a
               further motion to compel the production of transcripts from
               those cases, if the parties are unable to come to an agreement
               regarding production after engaging in appropriate meet and
               confer.

(Id.) The above language makes it clear that the Court did not envision Apple creating any
list for Samsung, much less the list that Samsung demands. Rather, Apple’s only obligation
under the Court Order was to produce certain transcripts of prior testimony by Apple
witnesses testifying in this case, and for Samsung, based on that production, to determine
whether it believes any additional transcripts from other cases should have been produced.

Apple has produced prior testimony of witnesses in this case in instances where the prior
testimony has a technological nexus to this matter. In light of your request, Apple will
review its production to confirm that it has produced all transcripts of Apple witnesses with a
technological nexus to this case. To the extent Samsung believes something is missing, it
should follow the process the Court described and bring those transcripts to Apple’s
attention.

Identification of Cases with “Technological Nexus”

Although your February 13 letter refers to transcripts, your February 19 and 23 letters refer
more broadly to “relevant materials” and “materials from related actions,” respectively. To
be clear, Apple has identified and produced transcripts with a technological nexus. Apple is
not searching for and broadly producing all “materials” from any case with an alleged
technological nexus, nor is such a search called for by any of Samsung’s requests for
production.

Moreover, we appreciate that you have provided a list of cases, but it is apparent that you
have not actually made an attempt to limit your cases to those with a technological nexus.
To cite only a few examples, Smart Audio Technologies, LLC v. Apple, Inc., 1:12-cv-00134
(D. Del.) involves one patent covering a vehicle audio system. S3 Graphics Co. Ltd. v.
Apple, Inc., 337-TA-724 (ITC) involves image decoding, processing, and compression



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patents. Others involve wireless communication patents with no relevance to Apple’s
patents-in-suit.

Manner of Production of Documents From Cases Involving the Apple Patents-in-Suit

Your letters also address the separate and distinct issue of Apple’s production of materials
from other litigation in which the Apple patents-in-suit are asserted. With respect to those
materials, the Court ordered Samsung months ago to obtain the necessary permissions for
production of confidential business information. Samsung did not seek such permissions
until recently, and you now report that many requests are being denied. Apple is now
requested to undertake a massive, detailed redaction project in the last few weeks of
discovery. This presents an immense burden on Apple, particularly given the dubious value
of these productions. This process is made even more burdensome as Apple is receiving
detailed redaction instructions secondhand, through your letters.

A more logical and efficient approach would be for Samsung’s counsel to implement the
redactions itself. Quinn Emanuel represents Samsung, HTC, and Motorola—all of the
parties to litigation involving the Apple patents-in-suit. Samsung’s request amounts to
asking Apple to provide materials already in the possession of one set of Quinn Emanuel
attorneys to another set of Quinn Emanuel attorneys. Quinn Emanuel has received
instructions from HTC, Motorola and others regarding the redactions they are requested to
make. Quinn Emanuel is thus in the best position to prepare redacted documents, consistent
with the instructions its clients have provided.

In fact, we understand that this exact process has been agreed to in the HTC case. In that
case, Quinn Emanuel agreed to provide Apple a list of documents that it intends to redact and
produce. Apple will review the list and, barring any objections, promptly give written
permission for the production of materials.

Please confirm that you will cooperate in the above manner going forward.

Sincerely,

/s/ Jason R. Bartlett

Jason R. Bartlett

cc:    Peter Kolovos
       S. Calvin Walden




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